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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6                                            EUREKA DIVISION

                                   7

                                   8    ERNEST E. COSSE IV,                                  Case No. 16-cv-06549-RMI
                                   9                    Plaintiff,                           ORDER RE PLAINTIFF'S AND
                                                                                             DEFENDANT'S MOTIONS FOR
                                  10             v.                                          SUMMARY JUDGMENT
                                  11    NANCY A. BERRYHILL,                                  Re: Dkt. Nos. 17, 22
                                  12                    Defendant.
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                                  13

                                  14           Plaintiff Ernest E. Cosse IV, seeks judicial review of an administrative law judge (“ALJ”)

                                  15   decision denying his application for Supplemental Security Income under Title XVI of the Social

                                  16   Security Act. Plaintiff’s request for review of the ALJ’s unfavorable decision was denied by the

                                  17   Appeals Council. The ALJ’s decision is the “final decision” of the Commissioner of Social

                                  18   Security, which this court may review. See 42 U.S.C. §§ 405(g), 1383(c)(3). Both parties have

                                  19   consented to the jurisdiction of a magistrate judge. (Docs. 11, 16). For the reasons stated below,

                                  20   the court will deny Plaintiff’s motion for summary judgment and grant Defendant’s motion for

                                  21   summary judgment.

                                  22                                           LEGAL STANDARDS

                                  23           The Commissioner's findings “as to any fact, if supported by substantial evidence, shall be

                                  24   conclusive.” 42 U.S.C. § 405(g). A district court has a limited scope of review and can only set

                                  25   aside a denial of benefits if it is not supported by substantial evidence or if it is based on legal

                                  26   error. Flaten v. Sec’y of Health & Human Servs., 44 F.3d 1453, 1457 (9th Cir. 1995). Substantial

                                  27   evidence is “more than a mere scintilla but less than a preponderance; it is such relevant evidence

                                  28   as a reasonable mind might accept as adequate to support a conclusion.” Sandgathe v. Chater, 108
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                                   1   F.3d 978, 979 (9th Cir. 1997). “In determining whether the Commissioner's findings are

                                   2   supported by substantial evidence,” a district court must review the administrative record as a

                                   3   whole, considering “both the evidence that supports and the evidence that detracts from the

                                   4   Commissioner's conclusion.” Reddick v. Chater, 157 F.3d 715, 720 (9th Cir. 1998). The

                                   5   Commissioner’s conclusion is upheld where evidence is susceptible to more than one rational

                                   6   interpretation. Burch v. Barnhart, 400 F.3d 676, 679 (9th Cir. 2005).

                                   7                                 SUMMARY OF MEDICAL EVIDENCE1

                                   8          1. Clearlake Family Health Center

                                   9          On February 26, 2014, Plaintiff was seen for symptoms of recurrent vomiting at least

                                  10   once a month (AR 320). He also reported back pain and requested a mental health evaluation. Id.

                                  11   Plaintiff was referred for a mental health evaluation. (AR 322).

                                  12          2. El Dorado Community Health Centers
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                                  13          Plaintiff established care at El Dorado Community Health Centers on April 15, 2014,

                                  14   when he was seen by Dina Medeiros, PA-C. (AR 357-358). He reported weekly bouts of violent

                                  15   nausea and vomiting after suffering a traumatic brain injury in 2004. (AR 357). PA-C Medeiros

                                  16   diagnosed generalized abdominal pain, nausea with vomiting, traumatic brain injury, lumbar

                                  17   pain, and muscle spasms. (AR 358). She referred Plaintiff for a mental health evaluation. Id.

                                  18   John Bachman, Ph.D., began treating Plaintiff on May 2, 2014. (AR 352). He presented

                                  19   as somewhat paranoid and described feeling he was a “victim” of the state police. Plaintiff

                                  20   reported feeling anxious, worried, and confused. Id. A mental status examination revealed

                                  21   agitated behavior, rambling and repetitive speech, a worried and angry mood, a labile affect,

                                  22   confusion and disorganized thought, superficial insight, and poor judgment. (AR 352-353). Dr.

                                  23   Bachman diagnosed adjustment disorder with mixed anxiety and depression. (AR 353).

                                  24   Plaintiff returned to Dr. Bachman on July 29, 2014, due to ongoing cognitive problems.

                                  25   (AR 345). He described symptoms of anxiety, worry, feeling discouraged, memory loss, and

                                  26   confusion. Id. Dr. Bachman’s mental status examination documented agitated behavior,

                                  27
                                       1
                                  28    This summary of medical evidence is largely taken from that provided by Plaintiff, which the
                                       court finds accurately represents the record. See generally, FRCP 56(c).
                                                                                         2
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                                   1   rambling and repetitive speech, a worried and angry mood, a labile affect, confusion and

                                   2   disorganized thought content, apprehension, remembrance of past traumas, paranoid ideation,

                                   3   superficial insight, and poor judgment. (AR 346). Dr. Bachman diagnosed a mild cognitive

                                   4   impairment, adjustment disorder with mixed anxiety and depression, and cannabis dependence.

                                   5   He recommended psychotherapy. Id. On August 5, 2014, PA-C Medeiros prescribed Clonazepam.

                                   6   (AR 343-344).

                                   7          At a visit on October 7, 2014, Plaintiff stated his nausea was “much worse” over the

                                   8   previous month. (AR 336). He also had difficulty sleeping due to anxiety and frequent urination.

                                   9   Id. PA-C Medeiros refilled all of Plaintiff’s medications. (AR 337). On November 12, 2014,

                                  10   Plaintiff returned to see Dr. Bachman. (AR 389). He reported gastric pain and nausea with

                                  11   vomiting on a daily basis. Id. Plaintiff also continued to feel stressed, anxious, worried, and

                                  12   discouraged, with memory problems and confusion. (AR 390). Additional visits with PA-C
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                                  13   Medeiros and Dr. Bachman documented no significant changes in Plaintiff’s impairments through

                                  14   March 13, 2015. (AR 387-388, 385-386, 383-384, 380-382, and 377-379).

                                  15          Neurologist Rajiv Pathak, M.D., evaluated Plaintiff on April 20, 2015, due to cognitive

                                  16   problems, dizziness, disturbed balance, and headaches. (AR 396). A neurological evaluation

                                  17   revealed poor concentration and easy frustration. (AR 397). Dr. Pathak diagnosed concussion

                                  18   with loss of consciousness and headache. Id. He recommended continued psychotherapy.

                                  19   (AR 398).

                                  20          On April 28, 2015, Plaintiff returned to Dr. Bachman, who found him to be stressed,

                                  21   anxious and worried, as well as suffering from memory loss, confusion, and mild cognitive

                                  22   impairment. (AR 395). Plaintiff had additional therapy with Dr. Bachman on May 7, 2015 (AR

                                  23   421-423). On June 4, 2015, Dr. Bachman wrote that Plaintiff remained confused, disorganized and

                                  24   anxious. (AR 415). Plaintiff returned for additional therapy with Dr. Bachman on June 23, 2015.

                                  25   (AR 412-414). Dr. Bachman summarized Plaintiff’s psychiatric conditions in a Mental

                                  26   Impairment Questionnaire dated July 21, 2015. (AR 403-406). He diagnosed cognitive

                                  27   impairment and anxiety disorder. (AR 403). Plaintiff’s GAF score was 51. Id. Clinical signs

                                  28   included persistent or generalized anxiety, feelings of guilt or worthlessness, illogical thinking,
                                                                                         3
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                                   1   slowed thinking and speech, difficulty thinking or concentrating, easy distractibility, poor

                                   2   immediate and recent memory, intrusive recollections of a traumatic experience,

                                   3   paranoia/suspiciousness, and social withdrawal or isolation. (AR 404). Dr. Bachman opined

                                   4   Plaintiff is not a malingerer. (AR 403).

                                   5          Dr. Bachman opined Plaintiff had “marked” limitations (defined as “symptoms

                                   6   constantly interfere with ability” or “more than 2/3 of an 8-hr. workday”) in his ability to

                                   7   remember locations and work-like procedures; understand and remember one-to-two step

                                   8   instructions; carry out detailed instructions; maintain attention and concentration for extended

                                   9   periods; complete a workday without interruptions from psychological symptoms; perform at a

                                  10   consistent pace without rest periods of unreasonable length or frequency; and, travel to

                                  11   unfamiliar places or use public transportation. (AR 405). In addition, the treating psychologist

                                  12   found Plaintiff had “moderate-to-marked” limitations (defined as “symptoms frequently
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                                  13   interfere with ability” or from “1/3 – 2/3 of an 8-hr. workday”) in his ability to carry out simple

                                  14   one-to-two step instructions; perform activities within a schedule and consistently be punctual;

                                  15   sustain ordinary routine without supervision; work in coordination with or near others without

                                  16   being distracted by them; make simple work-related decisions; accept instructions and respond

                                  17   appropriately to criticism from supervisors; respond appropriately to workplace changes; and, be

                                  18   aware of hazards and take appropriate precautions. Id. Dr. Bachman also estimated Plaintiff

                                  19   would miss work more than three times a month due to his impairments. (AR 406).

                                  20          3. Melody Samuelson, Psy.D. – SSA Consultative Psychologist

                                  21          Dr. Samuelson evaluated Plaintiff at the behest of the Social Security Administration

                                  22   on November 16, 2013. (AR 308-315). Plaintiff reported problems with memory that were

                                  23   attributed to a traumatic brain injury and anxiety. (AR 308). Plaintiff had not yet begun any

                                  24   mental health treatment. (AR 309). A mental status exam revealed Plaintiff was moderately

                                  25   disheveled, no evidence of feigning or exaggeration, bizarre or psychotic thought content, a

                                  26   moderately flat affect, feelings of depression that include hopelessness, helplessness, and

                                  27   worthlessness. (AR 310-311). Psychological testing was consistent with low average ability to

                                  28   perform a simple task of visual search and scanning a numerical sequence (AR 312), and
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                                   1   borderline visual working memory consistent with a past traumatic brain injury. (AR 314).

                                   2          Dr. Samuelson diagnosed cognitive disorder, not otherwise specified (“NOS”). (AR 314).

                                   3   Plaintiff’s GAF score was 46. He opined Plaintiff would have a “significant

                                   4   problem” organizing himself to implement tasks in many environments. Id. Dr. Samuelson also

                                   5   opined Plaintiff had moderate limitations in his ability to perform detailed and complex job

                                   6   instructions; relate adequately to co-workers and the public; maintain attention and concentration,

                                   7   persistence, and pace; associate with day-to-day work activities, including attendance and safety;

                                   8   accept instructions from supervisors; maintain a regular schedule and perform activities on a

                                   9   consistent basis; and, perform work activities without special or additional supervision. (AR 315).

                                  10          4. Relevant Portion of Plaintiff’s Testimony

                                  11          Plaintiff testified he suffered a traumatic brain injury in 2004 when he was assaulted.

                                  12   (AR 57). As a result, he has pain, problems with balance, difficulty articulating himself, and
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                                  13   frustration. (AR 57-58). Plaintiff also described problems retaining and recalling information,

                                  14   as well as problems focusing. (AR 58). He isolates himself from others. (AR 59). He has

                                  15   problems with nausea four to five times a week. (AR 62). Plaintiff was homeless and living in his

                                  16   car at the time of his hearing. (AR 51). He has a dog he takes for walks for 10 to 15 minutes at a

                                  17   time. (AR 63-64). Plaintiff does laundry once a month and goes grocery shopping once or twice a

                                  18   week. (AR 65-66). He uses medical marijuana twice a day to help with his nausea. (AR 59-60).

                                  19          THE FIVE STEP SEQUENTIAL ANALYSIS FOR DETERMINING DISABILITY

                                  20          A person filing a claim for social security disability benefits (“the claimant”) must show

                                  21   that she has the “inability to do any substantial gainful activity by reason of any medically

                                  22   determinable physical or mental impairment” which has lasted or is expected to last for twelve or

                                  23   more months. 20 C.F.R. §§ 416.920(a)(4)(ii), 416.909. The ALJ must consider all evidence in the

                                  24   claimant’s case record to determine disability (id. § 416.920(a)(3)), and must use a five-step

                                  25   sequential evaluation to determine whether the claimant is disabled (id. § 416.920). “[T]he ALJ

                                  26   has a special duty to fully and fairly develop the record and to assure that the claimant’s interests

                                  27   are considered.” Brown v. Heckler, 713 F.2d 441, 443 (9th Cir. 1983).

                                  28          Here, the ALJ evaluated Plaintiff’s application for benefits under the required five-step
                                                                                         5
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                                   1   sequential evaluation. (AR 30-42).

                                   2            At Step One, the claimant bears the burden of showing she has not been engaged in

                                   3   “substantial gainful activity” since the alleged date the claimant became disabled. 20 C.F.R.

                                   4   § 416.920(b). If the claimant has worked and the work is found to be substantial gainful activity,

                                   5   the claimant will be found not disabled. Id. The ALJ found that Plaintiff had not engaged in

                                   6   substantial gainful activity since the alleged onset date of August 13, 2013. (AR 32).

                                   7            At Step Two, the claimant bears the burden of showing that she has a medically severe

                                   8   impairment or combination of impairments. 20 C.F.R. § 416.920(a)(4)(ii), (c). “An impairment is

                                   9   not severe if it is merely ‘a slight abnormality (or combination of slight abnormalities) that has no

                                  10   more than a minimal effect on the ability to do basic work activities.’” Webb v. Barnhart, 433

                                  11   F.3d 683, 686 (9th Cir. 2005) (quoting S.S.R. No. 96–3(p) (1996)). The ALJ found that Plaintiff

                                  12   suffered the following medically determinable impairments: headaches, low back pain/strain,
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                                  13   cognitive disorder not otherwise specified, and anxiety disorder. (AR 32).

                                  14            To be found disabled, a claimant must have a severe impairment. § 416.920(c). If the

                                  15   claimant does not have any impairment or combination of impairments which significantly limits

                                  16   his physical or mental ability to do basic work activities, he does not have a severe impairment

                                  17   and is therefore not disabled. Id. The claimant’s age, education, and work experience is not

                                  18   considered. Id. Here, the ALJ found that Plaintiff’s “physical and mental impairments,

                                  19   considered singly and in combination, do not significantly limit the claimant’s ability to perform

                                  20   basic work activities. Thus, the claimant does not have a severe impairment or combination of

                                  21   impairments.”2 (AR 42). The ALJ thus concluded that Plaintiff had not been under a disability, as

                                  22   defined in the Social Security Act, since August 23, 2013, the date the application was filed. (AR

                                  23   42).

                                  24                                          DISCUSSION

                                  25            Plaintiff contends that the ALJ erred by finding that he has no severe impairments.

                                  26   Plaintiff explains that he does not dispute the ALJ’s findings related to his physical impairments,

                                  27

                                  28   2
                                           The ALJ thus did not reach Steps Three, Four and Five of the sequential evaluation.
                                                                                         6
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                                   1   but only the findings as to his mental impairments. Plaintiff argues that the ALJ erred in: (1)

                                   2   rejecting the opinions from treating psychologist Dr. Bachman; (2) relying on the opinion of the

                                   3   non-examining consultants Drs. Colsky and Brill; (3) rejecting the opinions of the

                                   4   Administration’s consultative psychologist, Dr. Samuelson, and (4) failing to properly evaluate

                                   5   Plaintiff’s testimony.

                                   6   Opinion of Dr. Bachman

                                   7          Plaintiff contends that the ALJ erred in rejecting the opinions from treating psychologist

                                   8   Dr. Bachman. Under the treating physician rule, the opinion of a treating physician is accorded

                                   9   more weight than the opinions of other physicians. Smolen v. Chater, 80 F.3d 1273, 1285 (9th Cir.

                                  10   1996). A decision rejecting a treating doctor’s opinion that is contradicted by that of another

                                  11   doctor must set “forth ‘specific and legitimate reasons supported by substantial evidence in the

                                  12   record for doing so.’” Tonapetyan v. Halter, 242 F.3d 1144, 1148 (9th Cir. 2001) (quoting Lester
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                                  13   v. Chater, 81 F.3d 821, 830 (9th Cir. 1995)); see also Thomas v. Barnhart, 278 F.3d 947, 957 (9th

                                  14   Cir. 2002) (an ALJ may reject a treating physician’s opinion when the opinion is inadequately

                                  15   supported by clinical findings).

                                  16          Plaintiff argues that while the ALJ noted that Dr. Bachman diagnosed Plaintiff with a mild

                                  17   cognitive disorder and had an average IQ, this does not negate Dr. Bachman’s other opinions,

                                  18   which were based on the combination of Plaintiff’s cognitive disorder and anxiety disorder.

                                  19   Plaintiff posits a contradiction where none exists. The relevant finding from the ALJ is as follows:

                                  20
                                                      Dr. Bachman also prepared medical source statements of the claimant’s functional
                                  21          ability. The undersigned finds his opinion inconsistent with treatment records. Dr.
                                  22          Bachman opined marked limitations in many areas of mental functioning while diagnosing
                                              only mild cognitive disorder. Notably, he obtained an average score in intelligence testing.
                                  23          Moreover, he signed a statement that the claimant’s marijuana use was insignificant and
                                              had no impact on his functioning. Dr. Bachman himself diagnosed the claimant with
                                  24          cannabis dependence disorder and a toxicology screen confirmed he uses it. The claimant
                                              himself testified he uses it twice daily. Dr. Bachman’s notes also indicate he was aware of
                                  25          the claimant’s opioid use and it is unclear whether he took that into consideration when he
                                  26          formulated his opinion of function. Notwithstanding that Dr. Bachman opines the
                                              claimant’s marijuana use is not a contributing factor to his limitations, the record does not
                                  27          support Dr. Bachman’s opinion of marked limitations. Psychometric testing does not
                                              support such severe limitations. His IQ is average, his memory was borderline, but on
                                  28          Trails testing, he improved with tasks requiring increased flexibility and executive
                                                                                         7
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                                              functioning, which is not consistent with marked limitations. Accordingly, the
                                   1          undersigned assigns little weight to Dr. Bachman’s opinion.
                                   2
                                       (AR 40-41) (emphasis added). As the “other opinions” of Dr. Bachman, Plaintiff cites the “signs
                                   3
                                       and symptoms” found by Dr. Bachman which supported his diagnosis and assessment of Plaintiff,
                                   4
                                       which included “cognitive impairment” and “anxiety disorder.” (AR 403-404).3 The court finds
                                   5

                                   6   that the ALJ considered these signs and symptoms found by Dr. Bachman in reaching her

                                   7   decision, as evidenced by the reference to Dr. Bachman opining “marked limitations in many areas

                                   8   of mental functioning.” The ALJ was not required to find that one area of evidence contradicted
                                   9
                                       the other, nor did she. Rather, the ALJ discussed the various aspects of Dr. Bachman’s medical
                                  10
                                       opinions of Plaintiff’s functionality, comparing and contrasting them in the course of reaching a
                                  11
                                       conclusion about the weight to be given Dr. Bachman’s opinion.
                                  12
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                                              Plaintiff additionally argues that Dr. Bachman’s opinions are entitled to greater weight
                                  13

                                  14   because Dr. Bachman treated Plaintiff regularly over an extended period of time, the nature of the

                                  15   treatment focused on Plaintiff’s mental impairments and Dr. Bachman is a psychologist giving
                                  16   opinions in his area of specialty. See SSR 96-2p (“[t]reating source medical opinions are still
                                  17
                                       entitled to deference and must be weighed using all of the factors provided in 20 CFR 404.1527
                                  18
                                       and 416.927. In many cases, a treating source’s medical opinion will be entitled to the greatest
                                  19
                                       weight and should be adopted, even if it does not meet the test for controlling weight.”).
                                  20

                                  21   However, while these factors are considered in determining the weight to be given a medical

                                  22   opinion, the main factors are whether the opinion is supported and consistent with the other

                                  23   evidence. See 20 C.F.R. § 416.927(c). The court finds that the length of Plaintiff’s treatment with
                                  24   Dr. Bachman and Dr. Bachman’s specialty do not outweigh the other factors used in weighing a
                                  25

                                  26
                                       3
                                  27     These included persistent or generalized anxiety, feelings of guilt or worthlessness, illogical
                                       thinking, slowed thinking and speech, difficulty thinking or concentrating, easy distractibility,
                                  28   poor immediate and recent memory, intrusive recollections of a traumatic experience,
                                       paranoia/suspiciousness, and social withdrawal or isolation. (AR 404).
                                                                                         8
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                                       physician’s opinion. As Defendant notes, State agency doctors Brill and Colsky, whose opinions
                                   1

                                   2   were given great weight, were a psychologist and psychiatrist respectively, which negates

                                   3   Plaintiff’s argument that Dr. Bachman’s opinion was entitled to greater weight due to his

                                   4   specialty.
                                   5          Plaintiff claims that the ALJ also discounted Dr. Bachman’s opinion because the ALJ had
                                   6
                                       erroneously believed that Dr. Bachman failed to consider the impact of Plaintiff’s use of marijuana
                                   7
                                       and opioids before rendering his opinions. In so claiming, Plaintiff incorrectly relies on the
                                   8
                                       materiality analysis under SSR 13-2p that is applicable when a severe impairment is found and the
                                   9

                                  10   applicant is found to be disabled. See 20 C.F.R. § 416.935(a) (if a claimant is found disabled and

                                  11   there is medical evidence of drug addiction or alcoholism, the ALJ must determine if it is a

                                  12   contributing factor material to the determination of disability); SSR 13-2p (if evidence establishes
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                                  13
                                       drug use is a medically determinable impairment and the claimant is found disabled, then it must
                                  14
                                       be determined whether the drug use is material to the disability determination). Here, because the
                                  15
                                       ALJ found that Plaintiff did not have a severe impairment and thus was not disabled, the
                                  16
                                       materiality analysis is inapplicable.
                                  17

                                  18          Further, Plaintiff misinterprets the ALJ’s reasoning. The ALJ did not discount Dr.

                                  19   Bachman’s opinion because she believed that Dr. Bachman had failed to consider the impact of
                                  20   Plaintiff’s use of marijuana and opioids before rendering his opinion. Rather, the ALJ pointed out
                                  21
                                       that Dr. Bachman found that Plaintiff’s marijuana use was insignificant and had no impact on his
                                  22
                                       functioning, yet diagnosed him with cannabis dependence. The ALJ then found,
                                  23
                                       “[n]otwithstanding that Dr. Bachman opines the claimant’s marijuana use is not a contributing
                                  24

                                  25   factor to his limitations, the record does not support Dr. Bachman’s opinion of marked

                                  26   limitations.” (AR 41).

                                  27          In conclusion, after considering all of Plaintiff’s arguments, the court finds that there was
                                  28   substantial evidence to support the ALJ’s rejection of Dr. Bachman’s opinion on the grounds that
                                                                                         9
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                                       it was internally inconsistent with his treatment records and with the record as a whole. See
                                   1

                                   2   Johnson v. Shalala, 60 F.3d 1428, 1433 (9th Cir. 1995) (self-contradictory doctor’s opinion may

                                   3   be rejected).

                                   4   Opinions of Drs. Colsky and Brill
                                   5          Plaintiff contends that the ALJ erred in giving great weight to the opinions of the non-
                                   6
                                       examining physicians, Drs. Colsky and Brill. Plaintiff cites well-established authority holding that
                                   7
                                       opinions provided by non-examining sources, standing alone, are not substantial evidence that
                                   8
                                       justifies the rejection of opinions from treating sources. See Lester v. Chater, 81 F.3d 821, 831
                                   9

                                  10   (9th Cir. 1995) (citing Pitzer v. Sullivan, 908 F.2d 502, 506 (9th Cir. 1990)). However, the

                                  11   opinions of non-treating or non-examining physicians may be substantial evidence when

                                  12   supported by other evidence in the record. See Thomas v. Barnhart, 278 F.3d 947, 957 (9th Cir.
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                                  13
                                       2012) (“opinions of non-treating or non-examining physicians may also serve as substantial
                                  14
                                       evidence when the opinions are consistent with independent clinical findings or other evidence in
                                  15
                                       the record”); SSR 96-6p4 (“State agency medical and psychological consultants are highly
                                  16
                                       qualified physicians and psychologists who are experts in the evaluation of the medical issues in
                                  17

                                  18   disability claims.)

                                  19          In this case, the ALJ properly gave the opinions of the non-examining physicians, Drs.
                                  20   Colsky and Brill, great weight because they had evidentiary support in the record. (AR 41). These
                                  21
                                       physicians found that Plaintiff could perform many activities of daily living. (Id.) The ALJ noted
                                  22
                                       particularly that Drs. Colsky and Brill reviewed the notes of Dr. Samuelson, the consultative
                                  23
                                       psychologist, who found that Plaintiff had unimpaired executive functioning. The ALJ noted that
                                  24

                                  25   the medical records in their possession at the time of their review showed no records showing that

                                  26   Plaintiff sought care for cognitive functional deficits or mood disorder. The ALJ distinguished

                                  27   between the evidence available to Drs. Colsky and Brill, and that which was only created later,
                                  28   finding their “opinions consistent with the evidence at the time of their review and that subsequent
                                                                                        10
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                                       evidence does not show records supporting significant cognitive or mood deficits.” See Roberts
                                   1

                                   2   v. Shalala, 66 F.3d 179, 184 (9th Cir. 1995) (ALJ may reject the testimony of an examining, but

                                   3   non-treating physician, in favor of a nonexamining, nontreating physician with specific, legitimate

                                   4   reasons for doing so) (citing Andrews v. Shalala, 53 F.3d 1035, 1041 (9th Cir. 1995).) The court
                                   5   finds that there was substantial evidence to support the ALJ’s decision in assigning great weight to
                                   6
                                       the opinions of Drs. Colsky and Brill, and finds no error.
                                   7
                                       Opinions of Dr. Samuelson
                                   8
                                              Plaintiff contends that the ALJ erred by rejecting the opinions provided by the
                                   9

                                  10   Administration’s examining psychologist, Dr. Samuelson. Plaintiff argues the ALJ made a

                                  11   conclusory finding that Dr. Samuelson’s own mental status examination findings do not support

                                  12   her opinions. This is an inaccurate description of the ALJ’s findings, which thoughtfully
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                                  13
                                       discussed and analyzed Dr. Samuelson’s opinion, giving a detailed explanation for her conclusion
                                  14
                                       that Dr. Samuelson’s opinion was internally inconsistent. (AR 39). The court finds that there was
                                  15
                                       substantial evidence to support the ALJ’s decision and the court finds no error.
                                  16

                                  17   Evaluation of Plaintiff’s Credibility
                                  18          Plaintiff contends that the ALJ’s determination regarding Plaintiff’s credibility was not
                                  19   supported by substantial evidence. The ALJ found, after considering the record, that Plaintiff’s
                                  20   statements concerning the intensity, persistence, and limiting effects of his alleged symptoms were
                                  21   not entirely credible for many reasons. First, the ALJ noted that although Plaintiff reported a
                                  22   traumatic brain injury resulting from an assault in 2004, there was no evidence of such an incident.
                                  23   (AR 34). Plaintiff submitted no medical records or other evidence supporting his report. (Id.).
                                  24   Despite the report of a traumatic brain injury, a CT scan on May 2, 2014, was unremarkable and
                                  25   did not substantiate Plaintiff’s claims. (Id.). Also, Plaintiff told a medical provider that his
                                  26   strength and memory had improved following the attack in 2004 and that he was able to drive.
                                  27   (Id.). The ALJ noted discrepancies regarding Plaintiff’s claimed back pain, i.e., lumbar spine
                                  28   imaging was normal. (Id.).
                                                                                         11
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                                   1          The ALJ found that although Plaintiff’s treating physician Dr. Bachman diagnosed

                                   2   cognitive impairment, this was based on Plaintiff’s subjective report and Dr. Bachman

                                   3   characterized it as mild. (AR 34). Additionally, results from IQ testing in 2013 were in the

                                   4   normal range. (Id.).

                                   5          The ALJ noted that Plaintiff had successfully worked at substantial gainful activity levels

                                   6   after the date of the alleged brain injury. (Id.). At that time he had the same impairments he now

                                   7   asserted prevented him from working. (Id.).

                                   8          Finally, Plaintiff testified that he had been smoking marijuana twice a day since 2010. The

                                   9   ALJ found that the records showed drug abuse and dependence. She also found that Plaintiff had

                                  10   the ability to engage in physically and mentally challenging activities, as shown by his

                                  11   participation in marijuana growing activities after the date of the alleged injury.

                                  12          Based on the above, the court finds that contrary to Plaintiff’s implication, the ALJ did not
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                                  13   base her credibility determination purely on the absence of medical records to support Plaintiff’s

                                  14   claim of a traumatic brain injury, but rather based it on the record as a whole. Further, she

                                  15   examined in detail whether the alleged injury impacted Plaintiff’s ability to work, relying on the

                                  16   objective evidence in the record. This court concludes that the ALJ’s finding as to Plaintiff’s lack

                                  17   of credibility is supported by substantial evidence in the record and must therefore be upheld by

                                  18   this court. See Flaten, 44 F.3d at 1457.

                                  19                                          CONCLUSION

                                  20          For the reasons stated above, the court hereby DENIES Plaintiff’s motion for summary

                                  21   judgment and GRANTS Defendant’s motion for summary judgment.

                                  22          A separate judgment will issue.

                                  23          IT IS SO ORDERED.

                                  24   Dated: February 27, 2018

                                  25
                                                                                                     ROBERT M. ILLMAN
                                  26                                                                 United States Magistrate Judge
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